Case 2:23-cv-06188-JMW Document 115 Filed 11/30/23 Page 1 of 1 PageID #: 2595




                                 Harry R. Thomasson, Esq.
                                  3280 Sunrise Highway, Box 112                Admitted:
                                    Wantagh, New York 11793                    Massachusetts
                                         Tel. 516-557-5459                     New York
                                         hrtatty@verizon.net

                                              November 30, 2023

Honorable James M. Wicks
U.S. Federal District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

       Re:     Superb Motors, Inc., et al. v. Anthony Deo, et al.
               Case No. 2:23-cv-6188 (JW)

Your Honor:

        Please be reminded that this office represents Anthony Deo, Sara Deo, Dwight
Blankenship, Harry Thomasson, Marc Merckling, Michael Laurie, Car Buyers NYC Inc., Gold
Coast Cars of Syosset LLC, Gold Coast Cars of Sunrise LLC, Gold Coast Motors Automotive
Group LLC, Gold Coast Motors of LIC LLC, Gold Coast Motors of Roslyn LLC, Gold Coast
Motors of Smithtown LLC, DLA Capital Partners, Inc., and UEA Premier Motors Corp., with
respect to the above referenced action (the “Deo” Defendants).

        This Court Ordered our papers in response to the pending Motion to Modify to be
submitted tomorrow, December 1, 2023. Due to a heavy workload, I am writing to request that I
be permitted through and including Monday, December 4, 2023, to file my responsive papers. I
am unaware of any prejudice this may cause any party hereto; for comparison purposes, please
note that Plaintiffs were given nine (9) days to respond to my Pre-Motion Conference letter
regarding our expected Motion to Dismiss, but I was only given five (5) days to respond to the
fully briefed Motion to Modify.

       I conferred with Mr. Kataev on behalf of Plaintiffs regarding the within request, and he
refused to consent to same. Awaiting your decision, I remain,

                                              Very truly yours,

                                              /S/

                                              Harry R. Thomasson
